                                                        U.S. Department of Justice

                                                        United States Attorney

                                                        Eastern District of Pennsylvania
Anita Eve                                               615 Chestnut Street
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                                                   September 23, 2022


 U.S. District Court Clerk’s Office
Criminal Division
2609 United States Courthouse
601 Market Street
Philadelphia, PA 19106

                    Re:       United States v. Mark Houck
                              Cr. No. 22-323

Dear Clerk of the Court:

        Please unimpound the Indictment with regard to the above-captioned case. The Indictment
was filed on September 20, 2022.

                                                   Very truly yours,

                                                   JACQUELINE C. ROMERO
                                                   United States Attorney

                                                   s/ Anita Eve
                                                   Anita Eve
                                                   Assistant United States Attorney
